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                    UNITED STATES BANKRUPTCY COURT
                     SOUTHERN DISTRICT OF FLORIDA
IN RE:

Nayda Martinez
Gustavo Cardenas,                             Case no. 24-12036-SMG

    Debtor(s).          /                     Chapter 13


 SANTANDER CONSUMER USA INC.’S OBJECTION TO CONFIRMATION OF PLAN


    Santander      Consumer       USA        Inc.        dba      Chrysler     Capital

("Creditor"), a secured claimant, objects to the confirmation of

debtor’s Plan as follows:

    1.   On February 29, 2024, debtors filed for relief under

chapter 13 of the bankruptcy code.

    2.   On August 13, 2022, less than 910 days prior to the

bankruptcy filing, debtor Gustavo Cardenas executed a contract

pertaining   to   the       purchase    of     a    2022       RAM   RAM    1500    VIN:

1C6RREFT9NN337568. Creditor holds a lien on the vehicle.                           Copies

of the contract and proof of title are attached to Creditor’s

Proof of Claim No. 4-1.
    3.   The      payoff      balance     at       the     time      of    filing    was

$36,241.26 (POC #4-1).

    4.   Debtor’s       proposed        plan        fails      to     reference      the

treatment of Creditor’s secured claim.

    5.   Creditor       requires       updated       proof      of    collision      and

comprehensive insurance.

    6.   The proposed plan fails to provide that Creditor will

retain its lien until they are paid in full.
    WHEREFORE, Creditor respectfully requests that confirmation
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of the plan be denied.

     I hereby certify that I am admitted to the bar of the United
States District Court for the Southern District of Florida and I am in
compliance with the additional qualifications to practice in this
Court set forth in Local Rule 2090-1(A).



     I HEREBY CERTIFY that on April 8, 2024, copies of the
foregoing were transmitted via ECF to the Office of the US
Trustee, Robin R Weiner, Trustee, Jose A Blanco, Esq., attorney
for the debtors, and mailed to Nayda Martinez & Gustavo
Cardenas, debtors, 4351 SW 22ND ST, Fort Lauderdale, FL 33317.

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